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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                                         Chapter 11

GIGAMONSTER NETWORKS, LLC, et al.,1                            Case No. 23-10051 (JKS)

         Debtors.                                              (Jointly Administered)

                                                               Obj. Deadline: Dec. 6, 2024 at 4:00 p.m. (ET)
                                                               Hearing Date: Dec. 16, 2024 at 1:00 p.m. (ET)

     SUMMARY OF COMBINED MONTHLY AND FINAL FEE APPLICATION OF
      KROLL RESTRUCTURING ADMINISTRATION LLC, ADMINISTRATIVE
       ADVISOR TO THE DEBTORS, FOR COMPENSATION FOR SERVICES
      AND REIMBURSEMENT OF EXPENSES FOR (I) THE MONTHLY PERIOD
     FROM SEPTEMBER 1, 2024 THROUGH SEPTEMBER 16, 2024, AND (II) THE
     FINAL PERIOD FROM JANUARY 16, 2023 THROUGH SEPTEMBER 16, 2024

Name of Applicant:                                             Kroll Restructuring Administration LLC
                                                               (“Kroll”)

Authorized to Provide Professional Services to:                Debtors and Debtors in Possession

Date of Retention:                                             February 9, 2023, nunc pro tunc to January
                                                               16, 2023

Period for which compensation and
reimbursement is sought:                                       (i) September 1, 2024 through September
                                                               16, 2024 (the “Monthly Fee Period”), and
                                                               (ii) January 16, 2023 through September 16,
                                                               2024 (the “Final Fee Period”)2
Amount of compensation sought as
actual, reasonable and necessary for
the Monthly Fee Period:                                        $233.96

Amount of expense reimbursement sought
as actual, reasonable and necessary for
the Monthly Fee Period:                                        $274.00



1
    The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
    GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014);
    Fibersphere Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The
    Debtors’ business address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
2
    Kroll did not incur any fees or expenses in its capacity as administrative advisor prior to the month of February
    2024, or during the month of April 2024.
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Amount of compensation sought as
actual, reasonable and necessary for
the Final Fee Period:                                 $43,630.60

Amount of expense reimbursement sought
as actual, reasonable and necessary for
the Final Fee Period:                                 $274.00

Total compensation and expense
reimbursement sought as actual,
reasonable and necessary for
the Final Fee Period:                                 $43,904.60

Total amount to be paid at this time:                 $43,904.60

This is a:   X      monthly       X      final application.


                            [Remainder of page intentionally left blank]




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                                             Prior Monthly Applications

                                               Requested                      Paid or To Be Paid
   Date Filed;           Period
                                           Fees           Expenses            Fees        Expenses        Holdback
    ECF No.             Covered
                                         $9,061.36                       $7,249.09
     7/22/24;           2/1/24 –
                                     (payment of 80%        $0.00         (80% of              $0.00       $1,812.27
   ECF No. 835          6/30/24
                                       or $7,249.09)                     $9,061.36)
                                        $13,199.56                      $10,559.65
     8/27/24;           7/1/24 –
                                     (payment of 80%        $0.00         (80% of              $0.00       $2,639.91
   ECF No. 883          7/31/24
                                      or $10,559.65)                    $13,199.56)
                                        $21,135.72                      $16,908.58
     9/20/24;           8/1/24 –
                                     (payment of 80%        $0.00         (80% of              $0.00       $4,227.14
   ECF No. 900          8/31/24
                                      or $16,908.58)                    $21,135.72)

                 Summary of Hours Billed by Kroll Employees During the Monthly Fee Period

                                                                      Total                               Total Fees
     Kroll Employee                Position of the Applicant                         Hourly Rate
                                                                      Hours                               Requested
Brunswick, Gabriel                     Managing Director               0.70            $269.50                    $188.65
Bitman, Oleg                               Director                    0.40            $259.50                    $103.80
                                            Total:                     1.10                                      $292.453
                                         Blended Rate                                  $265.86

                  Summary of Fees Billed by Subject Matter During the Monthly Fee Period

                                                                                                         Total Fees
                             Matter Description                                      Total Hours
                                                                                                         Requested
Disbursements                                                                           0.40                     $103.80
Retention / Fee Application                                                             0.70                     $188.65
TOTAL                                                                                   1.10                     $292.454


                  Description of Necessary Expenses Incurred During the Monthly Fee Period
                                      Expense Description                                                   Total
Travel                                                                                                     $274.00
Total                                                                                                      $274.00

                  Summary of Hours Billed by Kroll Employees During the Final Fee Period

                                            Position of the           Total                               Total Fees
          Kroll Employee                                                             Hourly Rate
                                              Applicant               Hours                               Requested
Adler, Adam M                             Managing Director            0.50            $269.50                       $134.75

  3, 4
         This amount has been discounted to $233.96 in accordance with the terms of Kroll’s retention. Taking into
         account this discount, the blended hourly rate is $212.69.



                                                             3
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Brunswick, Gabriel                                                                                                                Managing Director          2.60          $269.50               $700.70
Archbell, Tiffany                                                                                                                Director of Solicitation    0.90          $269.50               $242.55
Johnson, Craig                                                                                                                   Director of Solicitation   16.40          $269.50             $4,419.80
Kesler, Stanislav                                                                                                                Director of Solicitation   31.00          $269.50             $8,354.50
Lonergan, Senan L                                                                                                                Director of Solicitation    1.20          $269.50               $323.40
Bitman, Oleg                                                                                                                             Director            0.80          $259.50               $207.60
Al-Sallaj, Sada                                                                                                                  Solicitation Consultant     3.30          $242.00               $798.60
Brodeur, Sarah                                                                                                                   Solicitation Consultant     0.60          $242.00               $145.20
Brown, Mark M                                                                                                                    Solicitation Consultant    27.20          $242.00             $6,582.40
Cheney, Edward                                                                                                                   Solicitation Consultant     1.80          $242.00               $435.60
Crowell, Messiah L                                                                                                               Solicitation Consultant    21.50          $242.00             $5,203.00
Gache, Jean                                                                                                                      Solicitation Consultant     2.30          $242.00               $556.60
Lewenson, Justin                                                                                                                 Solicitation Consultant    11.40          $242.00             $2,758.80
Pasang, Tsering N                                                                                                                Solicitation Consultant     4.50          $242.00             $1,089.00
Steinberg, Zachary                                                                                                               Solicitation Consultant    73.60          $242.00            $17,811.20
Ziffer, Jordan                                                                                                                   Solicitation Consultant     1.30          $242.00               $314.60
Khan, Areej                                                                                                                        Senior Consultant         7.50          $214.50             $1,608.75
Floyd, Tiffany M                                                                                                                       Consultant            0.50          $198.00                $99.00
Lim, Rachel                                                                                                                            Consultant            0.60          $198.00               $118.80
Pagan, Chanel C                                                                                                                        Consultant            0.30          $198.00                $59.40
Gorina, Anastasia                                                                                                                      Consultant            2.80          $192.50               $539.00
Howell, Gabriela                                                                                                                       Consultant            0.50          $176.00                $88.00
Markesinis, Ioannis N                                                                                                                  Consultant            0.80          $176.00               $140.80
Spiegel, Jason                                                                                                                         Consultant            8.20          $176.00             $1,443.20
Hernandez, Raymond                                                                                                                     Consultant            3.30          $110.00               $363.00
                                                                                                                                          Total:            225.40                           $54,538.255
                                                                                                                                     Blended Rate                          $241.96

                                                                                                                Summary of Fees Billed by Subject Matter During the Final Fee Period

                                                                                                                                                                                          Total Fees
                                                                                                                        Matter Description                               Total Hours
                                                                                                                                                                                          Requested
Ballots                                                                                                                                                                     27.80               $6,626.95
Call Center / Credit Inquiry                                                                                                                                                23.50               $5,810.75
Disbursements                                                                                                                                                               2.30                  $595.35
Retention / Fee Application                                                                                                                                                 3.10                  $835.45
Solicitation                                                                                                                                                               168.70             $40,669.75
TOTAL                                                                                                                                                                      225.40            $54,538.256


                                                                                                                Description of Necessary Expenses Incurred During the Final Fee Period

                                                                                                                               Expense Description                                          Total
Travel                                                                                                                                                                                     $274.00
Total                                                                                                                                                                                      $274.00

  5, 6
         This amount has been discounted to $43,630.60 in accordance with the terms of Kroll’s retention. Taking into
         account this discount, the blended hourly rate is $193.57.
  6      This amou nt has been discounted to $26,3 82.60 in accordance with the terms of Kro ll’s retentio n.




                                                                                                                                                    4
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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

GIGAMONSTER NETWORKS, LLC, et al.,1                        Case No. 23-10051 (JKS)

         Debtors.                                           (Jointly Administered)

                                                            Obj. Deadline: Dec. 6, 2024 at 4:00 p.m. (ET)
                                                            Hearing Date: Dec. 16, 2024 at 1:00 p.m. (ET)

           COMBINED MONTHLY AND FINAL FEE APPLICATION OF
      KROLL RESTRUCTURING ADMINISTRATION LLC, ADMINISTRATIVE
       ADVISOR TO THE DEBTORS, FOR COMPENSATION FOR SERVICES
      AND REIMBURSEMENT OF EXPENSES FOR (I) THE MONTHLY PERIOD
     FROM SEPTEMBER 1, 2024 THROUGH SEPTEMBER 16, 2024, AND (II) THE
     FINAL PERIOD FROM JANUARY 16, 2023 THROUGH SEPTEMBER 16, 2024

         Kroll Restructuring Administration LLC (“Kroll”), administrative advisor to GigaMonster

Networks, LLC and certain of its affiliates, as debtors and debtors in possession (collectively, the

“Debtors”), files this combined monthly and final fee application (the “Application”), pursuant

to sections 330 and 331 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 2016

of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-2 of the

Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the

District of Delaware (the “Local Bankruptcy Rules”), the Order Establishing Procedures for

Interim Compensation and Reimbursement of Expenses of Professionals [Docket No. 122] (the

“Interim Compensation Order”), and the Combined Disclosure Statement and Joint Plan of

Liquidation of GigaMonster Networks LLC and Its Affiliated Debtors Under Chapter 11 of the

Bankruptcy Code [Docket No. 889, Ex. A] (as may be further amended, modified, or supplemented




1
    The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
    GigaMonster Networks, LLC (2854); Gigasphere Holdings LLC (0250); GigaMonster, LLC (3014);
    Fibersphere Communications LLC (0163); and Fibersphere Communications of California LLC (5088). The
    Debtors’ business address is 350 Franklin Gateway, Suite 300, Marietta, GA 30067.
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in accordance with its terms, the “Plan”) for payment of compensation for professional services

rendered to the Debtors and for reimbursement of actual and necessary expenses incurred in

connection with such services for (i) September 1, 2024 through September 16, 2024 (the

“Monthly Fee Period”) and (ii) January 16, 2023 through September 16, 2024 (the “Final Fee

Period”).2 In support of the Application, Kroll respectfully represents as follows:

                                            Preliminary Statement

        1.     On January 18, 2023 the United States Bankruptcy Court for the District of Delaware

(the “Court”) entered the Order Authorizing Retention and Appointment of Kroll Restructuring

Administration LLC as Claims and Noticing Agent [Docket No. 36] (the “Claims and Noticing

Agent Order”), which authorized the Debtors to retain Kroll as the claims and noticing agent in

the Debtors’ chapter 11 cases. Pursuant to the Order Authorizing Employment and Retention of

Kroll Restructuring Administration LLC as Administrative Advisor Nunc Pro Tunc to the Petition

Date [Docket No. 123] (the “Administrative Advisor Order”), dated February 9, 2023, the Court

authorized the Debtors to retain Kroll as administrative advisor in these chapter 11 cases, effective

as of the Petition Date (as defined below).

        2.     On August 30, 2024, the Court entered the Order Granting Final Approval of

Disclosure Statement and Confirming Plan of Liquidation of Gigamonster Networks, LLC and Its

Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Docket No. 889], which, among

other things, confirmed the Plan. Pursuant to the Notice of (I) Confirmation and Effective Date of

the Combined Disclosure Statement and Joint Plan of Liquidation of Gigamonster Networks, LLC

and Its Affiliated Debtors under Chapter 11 of the Bankruptcy Code and (II) Deadline Under the




2
    Kroll did not incur any fees or expenses in its capacity as administrative advisor prior to the month of February
    2024, or during the month of April 2024.

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Plan and Confirmation Order to File Administrative Claims, Professional Fee Claims, and

Rejection Claims [Docket No. 898], the Plan became effective on September 16, 2024.

       3.    By this Final Application, Kroll seeks final approval, allowance and payment of fees

in the aggregate amount of $43,630.60 for the Final Fee Period and reimbursement of expenses in

the aggregate amount of $274.00 for the Final Fee Period.

       4.    During the Final Fee Period, Kroll worked on, among other things, reviewing,

analyzing, and providing comments to solicitation materials, solicitation of the Plan, responding

to inquiries from creditors, reviewing and processing incoming ballots and performing quality

assurance of same, and preparing for and participating in the confirmation hearing.

                                          Jurisdiction

       5.    The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334,

and the Amended Standing Order of Reference from the United States District Court for the District

of Delaware, dated as of February 29, 2012. This matter is a core proceeding within the meaning

of 28 U.S.C. § 157(b)(2).

       6.    Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       7.    The statutory bases for the relief requested herein are sections 330 and 331 of the

Bankruptcy Code, Bankruptcy Rule 2016 and Local Bankruptcy Rule 2016-2.

                                          Background

       8.      On January 16, 2023 (the “Petition Date”), the Debtors filed with the Court

voluntary petitions for relief under the Bankruptcy Code. The Debtors continue to operate their

businesses and manage their properties as debtors-in possession pursuant to sections 1107(a) and

1108 of the Bankruptcy Code. As of the date hereof, no trustee, examiner, or official committee

of unsecured creditors has been appointed in these chapter 11 cases



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                                       Relief Requested

       9.    During the Final Fee Period, Kroll professionals billed a total of 225.40 hours. By

this Final Application, Kroll requests final allowance and approval of a grand total of $43,904.60

for the Final Fee Period as follows: (a) final allowance and approval of aggregate fees in the

amount of $43,630.60 on account of reasonable and necessary professional services rendered to

the Debtors by Kroll (which amount includes fees incurred during the Monthly Fee Period); and

(b) reimbursement of actual and necessary expenses in the aggregate amount of $274.00.

       10.   As of the date hereof, Kroll has not yet received any payment on account of

reasonable and necessary professional services rendered and actual and necessary expenses

incurred by Kroll. As a result, Kroll is seeking payment hereby of the remaining reasonable and

necessary fees for services rendered and actual and necessary expenses incurred by Kroll during

the Final Fee Period in an aggregate amount equal to $43,904.60.

                       Compliance with the Interim Compensation Order;
                       Compensation Sought and Paid and its Source

       11.   All services for which compensation is requested herein by Kroll were performed for

or on behalf of the Debtors. In accordance with the Interim Compensation Order, Kroll prepared

the monthly fee applications filed with this Court at Docket Nos. 835, 883, and 900 (each, a

“Monthly Fee Application” and collectively, the “Monthly Fee Applications”), in the amount

of $43,396.64 in the aggregate. Further, this Final Application has been prepared in accordance

with the procedures set forth in the Interim Compensation Order and the Plan.

       12.   As noted above, as of the date hereof, Kroll has not yet received any payment on

account of reasonable and necessary professional services rendered and actual and necessary

expenses incurred on account of the Monthly Fee Application.




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       13.   In addition, Kroll incurred fees and expenses under the Administrative Advisor Order

during the Monthly Fee Period in the aggregate amounts of (i) $233.96 on account of reasonable

and necessary professional services rendered to the Debtors by Kroll and (ii) $274.00 on account

of actual and necessary costs and expenses. As of the date hereof, Kroll has neither sought nor

requested any such fees or expenses from the Debtors or this Court, and as such, seeks allowance

and payment of all such amounts incurred during the Monthly Fee Period by this Final Application.

Accordingly, the aggregate amount of fees and expense outstanding is $43,904.60 ($43,630.60,

plus $274.00).

       14.   Except to the extent of the amounts sought to be paid to Kroll pursuant to the Monthly

Fee Applications, Kroll has neither sought nor received any payment or promises for payment

from any source during the Final Fee Period in connection with the matters described in this Final

Application. There is no agreement or understanding between Kroll and any other person, other

than its affiliates, partners, managers, directors and employees, for sharing of the compensation to

be received for services rendered to the Debtors in these chapter 11 cases.

       15.   The fees sought by this Final Application do not include any fees sought under the

Claims and Noticing Agent Order. Procedures for payment of such fees or disbursements are

separately addressed in the Claims and Noticing Agent Order.           Additionally, no fees and

disbursements for services provided to the Debtors sought by this Final Application have been

sought to be paid under the Claims and Noticing Agent Order.

                         Summary of Professional Services Rendered

       16.   The professional services that Kroll rendered during the Fee Period are grouped by

subject matter and summarized as follows:




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                         Ballots

                    Fees: $6,626.95; Hours: 27.80

                Ballots services provided included processing incoming late ballots, including

receiving, reviewing, and analyzing incoming ballots for timeliness and validity, inputting ballots

into the voting database and auditing same, and providing technical support for processing of

electronically filed ballots.

                         Call Center / Credit Inquiry

                    Fees: $5,810.75; Hours: 23.50

                Call Center / Credit Inquiry services provided included: (a) preparing responses to

frequently asked questions in connection with solicitation; and (b) responding to creditor inquiries

regarding solicitation.

                         Disbursements

                    Fees: $595.35; Hours: 2.30

                Disbursements services provided included: (a) reviewing and analyzing the plan

and disclosure statement in connection with distributions; and (b) conferring and coordinating

among the Kroll case team and the Debtors’ financial advisor regarding upcoming distributions.

                         Retention / Fee Application

                    Fees: $835.45; Hours: 3.10

                Retention / Fee Application services provided included drafting, reviewing,

revising, and finalizing Kroll’s Monthly Fee Applications.




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                       Solicitation

                    Fees: $40,669.75; Hours: 168.70

               Solicitation services provided included: (a) conferring and coordinating among the

Kroll case team and Debtors’ counsel and other professionals regarding solicitation of the Debtors’

plan, including solicitation procedures, voting, balloting, and related mechanics; (b) responding to

inquiries from Debtors’ counsel and other professionals regarding solicitation of the Debtors’ plan;

(c) reviewing, analyzing and providing comments to draft solicitation documents in anticipation

of solicitation of the Debtors’ plan; (d) preparing plan class reports for solicitation purposes;

(e) updating the case website to provide for electronic submission of ballots and opt-out forms and

performing quality assurance reviews of same; (f) preparing interim voting reports for circulation

to the Debtors’ professionals; (g) preparing the voting declaration and performing quality

assurance reviews of same; and (h) preparing for, traveling to, and participating in the confirmation

hearing as the voting declarant.

       17.   Lastly, Exhibit A hereto: (a) identifies the individual that rendered services in each

subject matter; (b) describes each activity or service that the individual performed; (c) states the

number of hours (in increments of tenths of an hour) spent by the individual providing the services;

and (d) as applicable, lists the amount and type of expenses incurred.

                                   Summary of Expenses Incurred

       18.   In rendering the services described herein, Kroll incurred actual and necessary

expenses in the aggregate amount of $274.00 during the Final Fee Period (which amount was

incurred during the Monthly Fee Period) on account of confirmation hearing-related travel.

Attached hereto as Exhibit B is a list of expenses incurred by each Kroll employee during the

Final Fee Period.



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                              Kroll’s Requested Fees and
                Reimbursement of Expenses Should be Allowed by this Court

       19.   Section 330 of the Bankruptcy Code provides, in pertinent part, that a court may

award a professional employed under section 327 of the Bankruptcy Code “reasonable

compensation for actual, necessary services rendered … and reimbursement for actual, necessary

expenses.” 11 U.S.C. § 330(a)(1). In addition, Section 330 of the Bankruptcy Code sets forth the

criteria for the award of compensation and reimbursement:

               In determining the amount of reasonable compensation to be awarded … the court
               shall consider the nature, the extent, and the value of such services, taking into
               account all relevant factors, including

               (a)       the time spent on such services;
               (b)       the rates charged for such services;
               (c)       whether the services were necessary to the administration of, or beneficial
                         at the time at which the service was rendered toward the completion of, a
                         case under this title;
               (d)       whether the services were performed within a reasonable amount of time
                         commensurate with the complexity, importance, and nature of the problem,
                         issue, or task addressed;
               (e)       with respect to a professional person, whether the person is board certified
                         or otherwise has demonstrated skill and experience in the bankruptcy field;
                         and
               (f)       whether the compensation is reasonable based on the customary
                         compensation charged by comparably skilled practitioners in cases other
                         than cases under this title.

11 U.S.C. § 330(a)(3).

       20.   In accordance with the factors enumerated in section 330 of the Bankruptcy Code, it

is respectfully submitted that the amounts requested herein by Kroll are fair and reasonable given

(i) the complexity of these cases, (ii) the time expended, (iii) the rates charged for such services,

(iv) the nature and extent of the services rendered, (v) the value of such services and (vi) the costs

of comparable services other than in a case under this title.

       21.   Further, Kroll’s hourly rates are set at a level designed to fairly compensate Kroll for

the work of its professionals and to cover routine overhead expenses. Hourly rates vary with the

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experience and seniority of the individuals assigned. These hourly rates are subject to periodic

adjustments to reflect economic and other conditions and are consistent with the rates charged

elsewhere.

                           Representations and Reservation of Rights

       22.   Kroll has prepared this Final Application in accordance with the Bankruptcy Code,

Bankruptcy Rules, and the Local Rules. To the best of Kroll’s knowledge, this Final Application

complies with sections 330 and 331 of the Bankruptcy Code, the Federal Rules of Bankruptcy

Procedures, Local Rule 2016-2, the Interim Compensation Order and the Plan.

       23.   Approval of the fees and expenses sought by this Final Application represent the total

aggregate fees and expenses incurred by Kroll in rendering services under the Administrative

Advisor Order during the Final Fee Period.

                                               Notice

       24.   Kroll has provided notice of this Final Application to all parties required to receive

such notice under the Interim Compensation Order and pursuant to the Plan. In light of the nature

of the relief requested herein, Kroll respectfully submits that no further notice is necessary.


                             [Remainder of page intentionally left blank]




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                                           Conclusion

               WHEREFORE, pursuant to the Interim Compensation Order and the Plan, Kroll

requests: (i) final allowance and approval of fees in the aggregate amount of $43,630.60 on account

of reasonable and necessary professional services rendered to the Debtors by Kroll during the Final

Fee Period (which includes fees incurred during the Monthly Fee Period); and (ii) reimbursement

of actual and necessary costs and expenses in the aggregate amount of $274.00 (which

includes expenses incurred during the Monthly Fee Period).

Dated: November 15, 2024
       New York, New York

                                       KROLL RESTRUCTURING ADMINISTRATION LLC

                                             By:      /s/ Adam M. Adler
                                                      Adam M. Adler
                                                      Gabriel Brunswick
                                                      Kroll Restructuring Administration LLC
                                                      1 World Trade Center, 31st Floor
                                                      New York, NY 10007
                                                      Phone: (212) 257-5450
                                                      adam.adler@kroll.com
                                                      gabriel.brunswick@kroll.com

                                                      Administrative Advisor to the Debtors




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                                    VERIFICATION

STATE OF NEW YORK              )
                               )     SS:
COUNTY OF NEW YORK             )


    I, Adam M. Adler, after being duly sworn according to law, depose and say:

       1.     I am a Managing Director of Kroll Restructuring Administration LLC.

       2.     I am generally familiar with the work performed on behalf of the Debtors by
              Kroll professionals.

       3.     The facts set forth in the foregoing Application are true and correct to the best
              of my knowledge, information, and belief.

       4.     I have reviewed the requirements of Local Rule 2016-2 of the United States
              Bankruptcy Court for the District of Delaware, and to the best of my
              knowledge, information and belief, the foregoing Application complies with
              such Local Rule.




                                             Adam M. Adler


    SWORN TO AND SUBSCRIBED before me this 15th day of November, 2024.



                                           /s/ GABRIEL BRUNSWICK
                                           Notary Public, State of New York
                                           No. 02BR6323242
                                           Qualified in Kings County
                                           Certificate Filed in New York County
                                           Commission Expires Apr. 20, 2027
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                       Exhibit A

                       Fee Detail
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                   Hourly Fees by Employee through February 2024


Initial Employee Name              Title                              Hours        Rate      Total

CJ     Johnson, Craig              DS - Director of Solicitation       0.60   $269.50     $161.70

                                                       TOTAL:         0.60                $161.70

                   Hourly Fees by Task Code through February 2024

Task Code Task Code Description                                      Hours                  Total
SOLI       Solicitation                                                0.60               $161.70

                                                       TOTAL:         0.60                $161.70
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GigaMonster Networks, LLC                                                                                Page 2
                                                                                                Invoice #: 23593
Label1

                                                Time Detail

Date       Emp    Title   Description                                                    Task              Hours

02/26/24   CJ     DS      Conduct research re procedures for soliciting a plan of        Solicitation        0.60
                          liquidation
                                                                                    Total Hours             0.60
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                    Hourly Fees by Employee through March 2024


Initial Employee Name              Title                              Hours        Rate        Total

MMB    Brown, Mark M               SA - Solicitation Consultant        1.80   $242.00       $435.60
ZS     Steinberg, Zachary          SA - Solicitation Consultant        3.00   $242.00       $726.00
STK    Kesler, Stanislav           DS - Director of Solicitation       3.10   $269.50       $835.45

                                                       TOTAL:         7.90                $1,997.05

                   Hourly Fees by Task Code through March 2024

Task Code Task Code Description                                      Hours                    Total
SOLI       Solicitation                                                7.90                $1,997.05

                                                       TOTAL:         7.90                $1,997.05
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GigaMonster Networks, LLC                                                                                 Page 2
                                                                                                 Invoice #: 23846
Label1

                                                Time Detail

Date       Emp    Title   Description                                                     Task              Hours

03/01/24   STK    DS      Review and respond to inquiry from J. Grall (Novo Advisors)     Solicitation        0.80
                          re upcoming solicitation mailing
03/12/24   STK    DS      Review disclosure statement, plan, disclosure statement         Solicitation        0.70
                          motion and exhibits in preparation for solicitation
03/13/24   MMB    SA      Quality assurance review of draft solicitation documents        Solicitation        1.80
03/13/24   STK    DS      Review disclosure statement, plan, disclosure statement         Solicitation        1.10
                          motion and exhibits in preparation for solicitation
03/14/24   STK    DS      Review disclosure statement, plan, disclosure statement         Solicitation        0.30
                          motion and exhibits in preparation for solicitation
03/18/24   STK    DS      Review disclosure statement, plan, disclosure statement         Solicitation        0.20
                          motion and exhibits in preparation for solicitation
03/20/24   ZS     SA      Review and analyze solicitation materials and procedures to     Solicitation        3.00
                          be implemented in upcoming solicitation
                                                                                     Total Hours             7.90
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                   Hourly Fees by Employee through May 2024


Initial Employee Name              Title                             Hours        Rate      Total

ZS     Steinberg, Zachary          SA - Solicitation Consultant       2.50   $242.00     $605.00

                                                      TOTAL:         2.50                $605.00

                   Hourly Fees by Task Code through May 2024

Task Code Task Code Description                                     Hours                  Total
SOLI       Solicitation                                               2.50               $605.00

                                                      TOTAL:         2.50                $605.00
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GigaMonster Networks, LLC                                                                            Page 2
                                                                                            Invoice #: 24383
Label1

                                               Time Detail

Date       Emp    Title   Description                                                Task              Hours

05/31/24   ZS     SA      Review solicitation documents for use in upcoming          Solicitation        2.50
                          solicitation
                                                                                Total Hours             2.50
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                    Hourly Fees by Employee through June 2024


Initial Employee Name                 Title                             Hours        Rate        Total

MMB    Brown, Mark M                 SA - Solicitation Consultant       17.90   $242.00     $4,331.80
ZS     Steinberg, Zachary            SA - Solicitation Consultant        9.80   $242.00     $2,371.60
STK    Kesler, Stanislav             DS - Director of Solicitation       5.70   $269.50     $1,536.15
SLL    Lonergan, Senan L             DS - Director of Solicitation       1.20   $269.50       $323.40

                                                         TOTAL:        34.60                $8,562.95

                   Hourly Fees by Task Code through June 2024

Task Code Task Code Description                                        Hours                    Total
INQR       Call Center / Creditor Inquiry                                5.60                $1,355.20

SOLI       Solicitation                                                 29.00                $7,207.75

                                                         TOTAL:        34.60                $8,562.95
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GigaMonster Networks, LLC                                                                                  Page 2
                                                                                               Invoice #: 24645
Label1

                                               Time Detail

Date       Emp    Title   Description                                                   Task                Hours

06/03/24   MMB    SA      Quality assurance review of draft solicitation documents      Solicitation          4.70
06/03/24   ZS     SA      Review and analyze solicitation materials and procedures to   Solicitation          2.50
                          be implemented in upcoming solicitation
06/04/24   MMB    SA      Quality assurance review of draft solicitation documents      Solicitation          1.80
06/04/24   SLL    DS      Review disclosure statement for presupposes of distribution   Solicitation          1.20
                          provisions
06/04/24   STK    DS      Review disclosure statement, plan, disclosure statement       Solicitation          1.70
                          motion and exhibits in preparation for solicitation
06/04/24   ZS     SA      Confer and coordinate with the solicitation team regarding    Solicitation          0.20
                          the ongoing voting event
06/04/24   ZS     SA      Review and analyze solicitation materials and procedures to   Solicitation          1.50
                          be implemented in upcoming solicitation
06/05/24   STK    DS      Review disclosure statement, plan, disclosure statement       Solicitation          0.30
                          motion and exhibits in preparation for solicitation
06/06/24   STK    DS      Review disclosure statement, plan, disclosure statement       Solicitation          0.30
                          motion and exhibits in preparation for solicitation
06/07/24   ZS     SA      Review and analyze solicitation materials and procedures to   Solicitation          0.50
                          be implemented in upcoming solicitation
06/11/24   STK    DS      Review disclosure statement, plan, disclosure statement       Solicitation          1.10
                          motion and exhibits in preparation for solicitation
06/12/24   MMB    SA      Update FAQ materials for use in connection with responses     Call Center /         0.70
                          to solicitation inquiries                                     Creditor Inquiry
06/12/24   MMB    SA      Quality assurance review of draft solicitation documents      Solicitation          3.60
06/12/24   STK    DS      Review disclosure statement, plan, disclosure statement       Solicitation          0.50
                          motion and exhibits in preparation for solicitation
06/12/24   ZS     SA      Review and analyze solicitation materials and procedures to   Solicitation          3.00
                          be implemented in upcoming solicitation
06/13/24   MMB    SA      Update FAQ materials for use in connection with responses     Call Center /         4.90
                          to solicitation inquiries                                     Creditor Inquiry
06/13/24   MMB    SA      Quality assurance review of draft solicitation documents      Solicitation          2.20
06/13/24   STK    DS      Review disclosure statement, plan, disclosure statement       Solicitation          1.20
                          motion and exhibits in preparation for solicitation
06/13/24   ZS     SA      Review and analyze solicitation materials and procedures to   Solicitation          1.50
                          be implemented in upcoming solicitation
06/18/24   ZS     SA      Confer with S. Kesler (Kroll) re upcoming voting event        Solicitation          0.60
06/25/24   STK    DS      Review disclosure statement, plan, disclosure statement       Solicitation          0.20
                          motion and exhibits in preparation for solicitation
06/27/24   STK    DS      Review disclosure statement, plan, disclosure statement       Solicitation          0.40
                          motion and exhibits in preparation for solicitation
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GigaMonster Networks, LLC                                                               Page 3
                                                                               Invoice #: 24645
Label1
                                                                     Total Hours          34.60
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                     Hourly Fees by Employee through July 2024


Initial Employee Name                 Title                             Hours        Rate       Total

INM    Markesinis, Ioannis N         CO - Consultant                     0.20   $176.00       $35.20
JSP    Spiegel, Jason                CO - Consultant                     8.20   $176.00     $1,443.20
AGOR   Gorina, Anastasia             CO - Consultant                     2.00   $192.50      $385.00
TMF    Floyd, Tiffany M              CO - Consultant                     0.20   $198.00       $39.60
ARKH   Khan, Areej                   SC - Senior Consultant              7.50   $214.50     $1,608.75
SABR   Brodeur, Sarah                SA - Solicitation Consultant        0.60   $242.00      $145.20
MMB    Brown, Mark M                 SA - Solicitation Consultant        5.80   $242.00     $1,403.60
ECH    Cheney, Edward                SA - Solicitation Consultant        1.30   $242.00      $314.60
MLC    Crowell, Messiah L            SA - Solicitation Consultant        5.20   $242.00     $1,258.40
JGA    Gache, Jean                   SA - Solicitation Consultant        2.00   $242.00      $484.00
JUL    Lewenson, Justin              SA - Solicitation Consultant        5.00   $242.00     $1,210.00
TNP    Pasang, Tsering N             SA - Solicitation Consultant        4.50   $242.00     $1,089.00
ZS     Steinberg, Zachary            SA - Solicitation Consultant       12.60   $242.00     $3,049.20
JZI    Ziffer, Jordan                SA - Solicitation Consultant        1.30   $242.00      $314.60
TAR    Archbell, Tiffany             DS - Director of Solicitation       0.90   $269.50      $242.55
STK    Kesler, Stanislav             DS - Director of Solicitation      11.80   $269.50     $3,180.10
AMA    Adler, Adam M                 MD - Managing Director              0.30   $269.50       $80.85
GB     Brunswick, Gabriel            MD - Managing Director              0.80   $269.50      $215.60

                                                         TOTAL:        70.20              $16,499.45

                     Hourly Fees by Task Code through July 2024

Task Code Task Code Description                                        Hours                    Total
BALL       Ballots                                                       1.10                $244.20

DISB       Disbursements                                                 1.50                $387.75
INQR       Call Center / Creditor Inquiry                                6.80               $1,667.60
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GigaMonster Networks, LLC                                                                  Page 2
                                                                                  Invoice #: 24907
Label1
 RETN        Retention / Fee Application                              1.10                $296.45

SOLI         Solicitation                                            59.70             $13,903.45

                                                       TOTAL:       70.20            $16,499.45
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                                                                                                   Invoice #: 24907
Label1

                                                  Time Detail

Date       Emp     Title   Description                                                      Task                Hours

07/02/24   ZS      SA      Confer with A. Orchowski (Kroll) re upcoming voting event        Solicitation          0.30
07/02/24   ZS      SA      Review and analyze solicitation materials and procedures to      Solicitation          3.00
                           be implemented in upcoming solicitation
07/03/24   ZS      SA      Confer with A. Orchowski (Kroll) re upcoming voting event        Solicitation          0.40
07/03/24   ZS      SA      Review and analyze solicitation materials and procedures to      Solicitation          1.00
                           be implemented in upcoming solicitation
07/11/24   MMB     SA      Quality assurance review of draft solicitation documents         Solicitation          1.30
07/11/24   ZS      SA      Review and analyze solicitation materials and procedures to      Solicitation          1.00
                           be implemented in upcoming solicitation
07/15/24   MMB     SA      Update FAQ materials for use in connection with responses        Call Center /         1.70
                           to solicitation inquiries                                        Creditor Inquiry
07/15/24   SABR    SA      Review and analyze Plan to determine involvement in future       Disbursements         0.30
                           distributions or cancellations
07/15/24   STK     DS      Review disclosure statement, plan, disclosure statement          Solicitation          0.20
                           motion and exhibits in preparation for solicitation
07/16/24   GB      MD      Draft monthly fee application                                    Retention / Fee       0.80
                                                                                            Application
07/16/24   MMB     SA      Confer and coordinate with Z. Steinberg (Kroll) regarding        Solicitation          0.10
                           solicitation
07/16/24   STK     DS      Prepare plan class reports for solicitation mailing              Solicitation          1.20
07/16/24   STK     DS      Review disclosure statement, plan, disclosure statement          Solicitation          0.30
                           motion and exhibits in preparation for solicitation
07/16/24   ZS      SA      Confer with A. Orchowski (Kroll) re upcoming solicitation        Solicitation          0.40
07/17/24   MMB     SA      Confer and coordinate with S. Kesler and Z. Steinberg (Kroll)    Solicitation          0.10
                           regarding solicitation
07/17/24   STK     DS      Prepare plan class reports for solicitation mailing              Solicitation          0.80
07/17/24   STK     DS      Review disclosure statement, plan, disclosure statement          Solicitation          0.50
                           motion and exhibits in preparation for solicitation
07/17/24   ZS      SA      Confer with A. Orchowski (Kroll) re case deliverables            Solicitation          0.50
07/18/24   AMA     MD      Review and revise monthly fee application                        Retention / Fee       0.30
                                                                                            Application
07/18/24   STK     DS      Review disclosure statement, plan, disclosure statement          Solicitation          0.30
                           motion and exhibits in preparation for solicitation
07/18/24   STK     DS      Prepare plan class reports for solicitation mailing              Solicitation          0.80
07/18/24   TNP     SA      Prepare distribution matrix related to effective date            Solicitation          1.00
                           distributions for holders
07/19/24   JZI     SA      Create Plan distribution matrix                                  Solicitation          1.30
07/19/24   STK     DS      Prepare plan class reports for solicitation mailing              Solicitation          0.50
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GigaMonster Networks, LLC                                                                                 Page 4
                                                                                                Invoice #: 24907
Label1
 07/19/24   STK     DS    Review disclosure statement, plan, disclosure statement          Solicitation      0.30
                          motion and exhibits in preparation for solicitation
07/19/24    TNP     SA    Prepare distribution matrix related to effective date            Solicitation      3.50
                          distributions for holders
07/22/24    ARKH    SC    Review and prepare electronic submission portal                  Solicitation      0.50
07/22/24    STK     DS    Prepare plan class reports for solicitation mailing              Solicitation      0.80
07/23/24    ARKH    SC    Review and prepare electronic submission portal                  Solicitation      1.50
07/23/24    JSP     CO    Prepare electronic ballot submission portal                      Solicitation      3.00
07/23/24    MMB     SA    Confer and coordinate with Z. Steinberg (Kroll) regarding        Solicitation      0.10
                          solicitation
07/23/24    STK     DS    Prepare plan class reports for solicitation mailing              Solicitation      0.80
07/23/24    STK     DS    Review disclosure statement, plan, disclosure statement          Solicitation      0.30
                          motion and exhibits in preparation for solicitation
07/23/24    STK     DS    Confer and coordinate with case support re setup of ballot       Solicitation      0.40
                          and opt-out form
07/23/24    ZS      SA    Confer and coordinate with case support re setup of ballot       Solicitation      1.00
                          platform on the case website
07/24/24    AGOR    CO    Setup of electronic ballot platform on case website              Solicitation      1.20
07/24/24    ARKH    SC    Review and prepare electronic submission portal                  Solicitation      5.00
07/24/24    JSP     CO    Prepare electronic ballot submission portal                      Solicitation      3.90
07/24/24    STK     DS    Confer and coordinate with case support re setup of ballot       Solicitation      0.30
                          and opt-out form
07/24/24    STK     DS    Prepare plan class reports for solicitation mailing              Solicitation      0.20
07/24/24    STK     DS    Prepare solicitation materials, frequently asked questions       Solicitation      0.30
                          and service lists to be used in resource database for
                          solicitation inquiries
07/24/24    STK     DS    Review disclosure statement, plan, disclosure statement          Solicitation      0.20
                          motion and exhibits in preparation for solicitation
07/24/24    ZS      SA    Confer and coordinate with case support re setup of ballot       Solicitation      2.00
                          platform on the case website
07/25/24    AGOR    CO    Setup of electronic ballot platform on case website              Solicitation      0.80
07/25/24    ARKH    SC    Review and prepare electronic submission portal                  Solicitation      0.50
07/25/24    ECH     SA    Confer and coordinate with J. Lewenson (Kroll) regarding         Solicitation      0.40
                          step-by-steps and plan treatment
07/25/24    ECH     SA    Coordinate and process incoming electronic test ballots          Solicitation      0.90
07/25/24    JGA     SA    Confer and coordinate with case support re setup of ballot       Solicitation      1.80
                          platform on the case website
07/25/24    JSP     CO    Prepare electronic ballot submission portal                      Solicitation      1.30
07/25/24    JUL     SA    Confer and coordinate with E. Cheney (Kroll) regarding           Solicitation      0.40
                          step-by-steps and plan treatment
07/25/24    STK     DS    Confer and coordinate with case support re setup of ballot       Solicitation      0.30
                          and opt-out form
07/25/24    STK     DS    Prepare solicitation materials, frequently asked questions       Solicitation      0.30
                          and service lists to be used in resource database for
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GigaMonster Networks, LLC                                                                                  Page 5
                                                                                             Invoice #: 24907
Label1                   solicitation inquiries
07/25/24   TAR     DS    Review plan of reorganization in preparation for effective     Disbursements         0.90
                         date
07/26/24   STK     DS    Respond to creditor inquiries related to solicitation          Call Center /         0.20
                                                                                        Creditor Inquiry
07/26/24   STK     DS    Confer and coordinate with case support re setup of ballot     Solicitation          0.20
                         and opt-out form
07/26/24   STK     DS    Prepare solicitation materials, frequently asked questions     Solicitation          0.30
                         and service lists to be used in resource database for
                         solicitation inquiries
07/29/24   INM     CO    Input incoming ballot information into voting database         Ballots               0.20
07/29/24   JUL     SA    Confer and coordinate with case support re setup of ballot     Solicitation          1.80
                         platform on the case website
07/29/24   STK     DS    Respond to creditor inquiries related to solicitation          Call Center /         0.20
                                                                                        Creditor Inquiry
07/29/24   STK     DS    Confer and coordinate with case support re setup of ballot     Solicitation          0.20
                         and opt-out form
07/29/24   STK     DS    Prepare solicitation materials, frequently asked questions     Solicitation          0.20
                         and service lists to be used in resource database for
                         solicitation inquiries
07/29/24   TMF     CO    Quality assurance review of incoming ballots                   Ballots               0.10
07/29/24   ZS      SA    Confer and coordinate with case support re setup of ballot     Solicitation          2.00
                         platform on the case website
07/30/24   JGA     SA    Quality assurance review of incoming ballots                   Ballots               0.20
07/30/24   JUL     SA    Review solicitation documents for purposes of generating       Call Center /         0.90
                         FAQs                                                           Creditor Inquiry
07/30/24   MMB     SA    Confer and coordinate with Z. Steinberg (Kroll) regarding      Solicitation          0.10
                         solicitation
07/30/24   SABR    SA    Review Plan to determine involvement in allocations and        Disbursements         0.30
                         cancellations
07/30/24   STK     DS    Respond to creditor inquiries related to solicitation          Call Center /         0.20
                                                                                        Creditor Inquiry
07/30/24   STK     DS    Confer and coordinate with case support re setup of ballot     Solicitation          0.20
                         and opt-out form
07/30/24   STK     DS    Prepare solicitation materials, frequently asked questions     Solicitation          0.30
                         and service lists to be used in resource database for
                         solicitation inquiries
07/30/24   TMF     CO    Input incoming ballot information into voting database         Ballots               0.10
07/31/24   JUL     SA    Confer and coordinate with case support re setup of ballot     Solicitation          1.90
                         platform on the case website
07/31/24   MLC     SA    Quality assurance review of incoming ballots                   Ballots               0.50
07/31/24   MLC     SA    Review and analyze solicitation materials and procedures to    Solicitation          1.50
                         be implemented in upcoming solicitation
07/31/24   MLC     SA    Confer and coordinate with case support re setup of ballot     Solicitation          3.20
                         platform on the case website
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GigaMonster Networks, LLC                                                                                     Page 6
                                                                                                Invoice #: 24907
Label1
 07/31/24   MMB    SA    Update FAQ materials for use in connection with responses         Call Center /         2.40
                         to solicitation inquiries                                         Creditor Inquiry
07/31/24    STK    DS    Respond to creditor inquiries related to solicitation             Call Center /         0.20
                                                                                           Creditor Inquiry
07/31/24    STK    DS    Confer and coordinate with case support re setup of ballot        Solicitation          0.50
                         and opt-out form
07/31/24    STK    DS    Prepare solicitation materials, frequently asked questions        Solicitation          0.30
                         and service lists to be used in resource database for
                         solicitation inquiries
07/31/24    ZS     SA    Update FAQ materials for use in connection with responses         Call Center /         1.00
                         to solicitation inquiries                                         Creditor Inquiry
                                                                                      Total Hours              70.20
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                     Hourly Fees by Employee through August 2024


Initial Employee Name               Title                             Hours        Rate       Total

RHE    Hernandez, Raymond          CO - Consultant                     3.30   $110.00      $363.00
GAH    Howell, Gabriela            CO - Consultant                     0.50   $176.00       $88.00
INM    Markesinis, Ioannis N       CO - Consultant                     0.60   $176.00      $105.60
AGOR   Gorina, Anastasia           CO - Consultant                     0.80   $192.50      $154.00
TMF    Floyd, Tiffany M            CO - Consultant                     0.30   $198.00       $59.40
RACL   Lim, Rachel                 CO - Consultant                     0.60   $198.00      $118.80
CCP    Pagan, Chanel C             CO - Consultant                     0.30   $198.00       $59.40
SASA   Al-Sallaj, Sada             SA - Solicitation Consultant        3.30   $242.00      $798.60
MMB    Brown, Mark M               SA - Solicitation Consultant        1.70   $242.00      $411.40
ECH    Cheney, Edward              SA - Solicitation Consultant        0.50   $242.00      $121.00
MLC    Crowell, Messiah L          SA - Solicitation Consultant       16.30   $242.00     $3,944.60
JGA    Gache, Jean                 SA - Solicitation Consultant        0.30   $242.00       $72.60
JUL    Lewenson, Justin            SA - Solicitation Consultant        6.40   $242.00     $1,548.80
ZS     Steinberg, Zachary          SA - Solicitation Consultant       45.70   $242.00 $11,059.40
OB     Bitman, Oleg                DI - Director                       0.40   $259.50      $103.80
CJ     Johnson, Craig              DS - Director of Solicitation      15.80   $269.50     $4,258.10
STK    Kesler, Stanislav           DS - Director of Solicitation      10.40   $269.50     $2,802.80
AMA    Adler, Adam M               MD - Managing Director              0.20   $269.50       $53.90
GB     Brunswick, Gabriel          MD - Managing Director              1.10   $269.50      $296.45

                                                       TOTAL:       108.50              $26,419.65

                     Hourly Fees by Task Code through August 2024

Task Code Task Code Description                                      Hours                    Total
BALL       Ballots                                                    26.70               $6,382.75

DISB       Disbursements                                               0.40                $103.80
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GigaMonster Networks, LLC                                                                   Page 2
                                                                                   Invoice #: 25161
Label1
 INQR        Call Center / Creditor Inquiry                           11.10              $2,787.95

RETN         Retention / Fee Application                               1.30                $350.35

SOLI         Solicitation                                             69.00             $16,794.80

                                                        TOTAL:      108.50            $26,419.65
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GigaMonster Networks, LLC                                                                                    Page 3
                                                                                                 Invoice #: 25161
Label1

                                                  Time Detail

Date       Emp     Title   Description                                                    Task                Hours

08/01/24   MLC     SA      Quality assurance review of incoming ballots                   Ballots               0.80
08/01/24   STK     DS      Respond to creditor inquiries related to solicitation          Call Center /         0.10
                                                                                          Creditor Inquiry
08/01/24   STK     DS      Confer and coordinate with case support re setup of ballot     Solicitation          0.20
                           and opt-out form
08/01/24   STK     DS      Prepare solicitation materials, frequently asked questions     Solicitation          0.40
                           and service lists to be used in resource database for
                           solicitation inquiries
08/01/24   ZS      SA      Review solicitation documents for purposes of generating       Call Center /         2.00
                           FAQs                                                           Creditor Inquiry
08/01/24   ZS      SA      Prepare documents and information for communications           Solicitation          3.00
                           related to incoming inquiries
08/02/24   MLC     SA      Quality assurance review of incoming ballots                   Ballots               0.80
08/02/24   ZS      SA      Respond to creditor inquiries re opt-out submission            Call Center /         0.70
                                                                                          Creditor Inquiry
08/02/24   ZS      SA      Quality assurance review of incoming ballots                   Ballots               0.70
08/05/24   INM     CO      Input incoming ballot information into voting database         Ballots               0.20
08/05/24   JGA     SA      Quality assurance review of incoming ballots                   Ballots               0.20
08/05/24   MLC     SA      Quality assurance review of incoming ballots                   Ballots               1.20
08/05/24   ZS      SA      Respond to creditor inquiries re updating submitted ballots    Call Center /         1.00
                                                                                          Creditor Inquiry
08/05/24   ZS      SA      Confer and coordinate with case support re setup of ballot     Solicitation          1.00
                           platform on the case website
08/06/24   AGOR    CO      Setup of electronic ballot platform on case website            Solicitation          0.80
08/06/24   JGA     SA      Quality assurance review of incoming ballots                   Ballots               0.10
08/06/24   MLC     SA      Quality assurance review of incoming ballots                   Ballots               1.40
08/06/24   RHE     CO      Prepare electronic ballot submission portal                    Solicitation          2.60
08/06/24   STK     DS      Respond to creditor inquiries related to solicitation          Call Center /         0.60
                                                                                          Creditor Inquiry
08/06/24   ZS      SA      Create and format preliminary voting report for circulation    Solicitation          1.50
                           to case professionals
08/06/24   ZS      SA      Quality assurance review of incoming ballots                   Ballots               1.00
08/06/24   ZS      SA      Update voting database with new records                        Solicitation          0.60
08/06/24   ZS      SA      Confer with A. Orchowski (Kroll) re ongoing voting event       Solicitation          0.50
08/07/24   MLC     SA      Quality assurance review of incoming ballots                   Ballots               1.20
08/07/24   MMB     SA      Confer with Z. Steinberg (Kroll) regarding solicitation        Solicitation          0.10
08/07/24   RHE     CO      Prepare electronic ballot submission portal                    Solicitation          0.70
08/07/24   STK     DS      Quality assurance review of incoming ballots                   Ballots               0.20
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Label1
08/07/24   STK     DS    Respond to creditor inquiries related to solicitation          Call Center /         0.30
                                                                                        Creditor Inquiry
08/07/24   ZS      SA    Confer with S. Kesler (Kroll) re ongoing voting event          Solicitation          0.50
08/08/24   ECH     SA    Prepare vote declaration                                       Solicitation          0.20
08/08/24   ECH     SA    Coordinate and process incoming electronic ballots             Solicitation          0.20
08/08/24   MLC     SA    Quality assurance review of incoming ballots                   Ballots               1.30
08/08/24   STK     DS    Quality assurance review of incoming ballots                   Ballots               0.20
08/08/24   STK     DS    Respond to creditor inquiries related to solicitation          Call Center /         0.50
                                                                                        Creditor Inquiry
08/08/24   ZS      SA    Create and format preliminary voting report for circulation    Solicitation          1.50
                         to case professionals
08/09/24   CJ      DS    Conduct quality assurance of vote tabulation and reporting     Solicitation          0.80
08/09/24   MLC     SA    Quality assurance review of incoming ballots                   Ballots               0.90
08/09/24   STK     DS    Quality assurance review of incoming ballots                   Ballots               0.30
08/09/24   STK     DS    Respond to creditor inquiries related to solicitation          Call Center /         0.50
                                                                                        Creditor Inquiry
08/09/24   STK     DS    Prepare and compile solicitation notes for upcoming            Solicitation          0.70
                         confirmation hearing
08/09/24   STK     DS    Prepare vote declaration                                       Solicitation          0.50
08/12/24   CJ      DS    Monitor tabulation of ballots and conduct quality assurance    Solicitation          0.60
                         review thereof
08/12/24   JUL     SA    Prepare vote declaration                                       Solicitation          2.70
08/12/24   MLC     SA    Quality assurance review of incoming ballots                   Ballots               0.80
08/12/24   SASA    SA    Confer with J. Lewenson and Z. Steinberg (Kroll ) re vote      Solicitation          2.00
                         declaration body drafting
08/12/24   STK     DS    Quality assurance review of incoming ballots                   Ballots               0.20
08/12/24   STK     DS    Respond to creditor inquiries related to solicitation          Call Center /         0.70
                                                                                        Creditor Inquiry
08/12/24   STK     DS    Prepare and compile solicitation notes for upcoming            Solicitation          0.20
                         confirmation hearing
08/12/24   STK     DS    Prepare vote declaration                                       Solicitation          0.50
08/12/24   ZS      SA    Prepare vote declaration                                       Solicitation          2.50
08/12/24   ZS      SA    Respond to creditor inquiries re unique IDs and submission     Call Center /         1.70
                                                                                        Creditor Inquiry
08/12/24   ZS      SA    Confer with J. Lewenson (Kroll) re vote declaration            Solicitation          0.30
                         walkthrough
08/13/24   CCP     CO    Input incoming ballot information into voting database         Ballots               0.10
08/13/24   CJ      DS    Monitor tabulation of votes and conduct quality assurance      Solicitation          0.60
08/13/24   CJ      DS    Confer with Z. Steinberg (Kroll) re status of draft voting     Solicitation          0.10
                         declaration
08/13/24   INM     CO    Input incoming ballot information into voting database         Ballots               0.20
08/13/24   JUL     SA    Prepare vote declaration                                       Solicitation          1.30
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 08/13/24   MLC     SA    Quality assurance review of incoming ballots                     Ballots               0.80
08/13/24    MMB     SA    Confer with Z. Steinberg (Kroll) regarding solicitation          Solicitation          0.10
08/13/24    SASA    SA    Review and analyze incoming ballots for validity                 Ballots               0.20
08/13/24    STK     DS    Quality assurance review of incoming ballots                     Ballots               0.50
08/13/24    STK     DS    Respond to creditor inquiries related to solicitation            Call Center /         0.30
                                                                                           Creditor Inquiry
08/13/24    STK     DS    Prepare vote declaration                                         Solicitation          0.20
08/13/24    ZS      SA    Prepare vote declaration                                         Solicitation          1.50
08/13/24    ZS      SA    Create and format preliminary voting report for circulation      Solicitation          1.50
                          to case professionals
08/14/24    CJ      DS    Review and revise draft voting declaration                       Solicitation          1.10
08/14/24    CJ      DS    Conduct quality assurance review of preliminary voting           Solicitation          0.80
                          results
08/14/24    MLC     SA    Quality assurance review of incoming ballots                     Ballots               1.20
08/14/24    STK     DS    Quality assurance review of incoming ballots                     Ballots               0.30
08/14/24    STK     DS    Respond to creditor inquiries related to solicitation            Call Center /         0.20
                                                                                           Creditor Inquiry
08/14/24    STK     DS    Prepare and compile solicitation notes for upcoming              Solicitation          0.20
                          confirmation hearing
08/14/24    STK     DS    Prepare vote declaration                                         Solicitation          0.50
08/14/24    ZS      SA    Prepare vote declaration                                         Solicitation          1.50
08/15/24    CJ      DS    Confer with M. Brown (Kroll) re quality assurance review of      Solicitation          0.10
                          draft voting declaration
08/15/24    CJ      DS    Review draft voting declaration                                  Solicitation          0.40
08/15/24    CJ      DS    Review voting results in preparation to create exhibits to       Solicitation          0.50
                          voting declaration
08/15/24    ECH     SA    Coordinate and process incoming electronic ballots               Solicitation          0.10
08/15/24    GAH     CO    Quality assurance review of ballot filing database               Ballots               0.50
08/15/24    GB      MD    Draft monthly fee application                                    Retention / Fee       0.20
                                                                                           Application
08/15/24    MLC     SA    Quality assurance review of incoming ballots                     Ballots               1.10
08/15/24    ZS      SA    Confer and coordinate with case support re setup of ballot       Solicitation          1.00
                          platform on the case website
08/15/24    ZS      SA    Create and format preliminary voting report for circulation      Solicitation          1.50
                          to case professionals
08/15/24    ZS      SA    Quality assurance review of claims transfers related to          Solicitation          1.00
                          solicitation
08/15/24    ZS      SA    Review docket for filed stipulations and objections related to   Solicitation          1.00
                          solicitation
08/16/24    CJ      DS    Monitor tabulation of ballots and conduct quality assurance      Solicitation          0.40
                          review thereof
08/16/24    GB      MD    Draft monthly fee application                                    Retention / Fee       0.90
                                                                                           Application
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 08/16/24   MLC     SA    Quality assurance review of incoming ballots                    Ballots               0.90
08/16/24    MMB     SA    Prepare vote declaration                                        Solicitation          0.90
08/16/24    ZS      SA    Prepare vote declaration                                        Solicitation          0.50
08/16/24    ZS      SA    Respond to creditor inquiries re ballot submission              Call Center /         0.50
                                                                                          Creditor Inquiry
08/19/24    CJ      DS    Communicate with T. Cairns (Pachulski) re draft voting          Solicitation          0.10
                          declaration
08/19/24    MLC     SA    Quality assurance review of incoming ballots                    Ballots               1.20
08/19/24    ZS      SA    Create and format preliminary voting report for circulation     Solicitation          1.50
                          to case professionals
08/19/24    ZS      SA    Review and analyze incoming ballots for validity                Ballots               1.00
08/20/24    AMA     MD    Review monthly fee application                                  Retention / Fee       0.20
                                                                                          Application
08/20/24    CCP     CO    Input incoming ballot information into voting database          Ballots               0.20
08/20/24    CJ      DS    Monitor e-mails re finalization of voting declaration and       Solicitation          0.30
                          voting results
08/20/24    INM     CO    Input incoming ballot information into voting database          Ballots               0.20
08/20/24    JUL     SA    Quality assurance review of incoming ballots                    Ballots               2.40
08/20/24    MLC     SA    Quality assurance review of incoming ballots                    Ballots               1.50
08/20/24    MMB     SA    Quality assurance review of incoming ballots                    Ballots               0.30
08/20/24    MMB     SA    Review correspondence with Z. Steinberg (Kroll) and K. Dine     Solicitation          0.10
                          (Pachulski) regarding solicitation
08/20/24    RACL    CO    Quality assurance review of ballot filing database              Ballots               0.60
08/20/24    TMF     CO    Input incoming ballot information into voting database          Ballots               0.30
08/20/24    ZS      SA    Confer with A. Orchowski (Kroll) re ongoing voting event        Solicitation          0.70
08/20/24    ZS      SA    Create and format preliminary voting report for circulation     Solicitation          1.50
                          to case professionals
08/20/24    ZS      SA    Review and analyze incoming ballots for validity                Ballots               0.50
08/20/24    ZS      SA    Respond to creditor inquiries re ballot submission and          Call Center /         1.50
                          unique IDs                                                      Creditor Inquiry
08/21/24    CJ      DS    Coordinate with Z. Steinberg (Kroll) re edits to the draft      Solicitation          0.20
                          voting declaration
08/21/24    CJ      DS    Review and revise draft voting declaration                      Solicitation          0.40
08/21/24    MLC     SA    Quality assurance review of incoming ballots                    Ballots               1.20
08/21/24    MMB     SA    Review correspondence with C. Johnson and Z. Steinberg          Solicitation          0.10
                          (Kroll) and T. Cairns (Pachulski) regarding solicitation
08/21/24    SASA    SA    Confer with J. Lewenson and Z. Steinberg (Kroll) re vote        Solicitation          1.10
                          declaration exhibit drafting
08/21/24    ZS      SA    Confer with A. Orchowski (Kroll) re ongoing voting event        Solicitation          0.60
08/21/24    ZS      SA    Prepare vote declaration                                        Solicitation          2.00
08/21/24    ZS      SA    Confer with J. Lewenson and S. Al-Sallaj (Kroll) re vote        Solicitation          1.00
                          declaration
08/22/24    CJ      DS    Review and revise near-final voting declaration                 Solicitation          1.30
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08/22/24   CJ     DS    Correspond with M. Caloway (Pachulski) re comments to the           Solicitation          0.30
                        draft voting declaration
08/22/24   CJ     DS    Coordinate with Z. Steinberg (Kroll) re edits to the draft          Solicitation          0.20
                        voting declaration
08/22/24   MMB    SA    Review correspondence with C. Johnson and Z. Steinberg              Solicitation          0.10
                        (Kroll) and M. Caloway (Pachulski) regarding solicitation
08/22/24   ZS     SA    Prepare vote declaration                                            Solicitation          4.00
08/22/24   ZS     SA    Confer with C. Johnson (Kroll) re updated vote declaration          Solicitation          0.50
                        language
08/23/24   CJ     DS    Review court docket for any objections to confirmation or           Solicitation          0.60
                        other applicable pleadings in preparation for participation in
                        upcoming confirmation hearing
08/23/24   CJ     DS    Correspond with M. Caloway (Pachulski) re filed voting              Solicitation          0.30
                        declaration and voting reports
08/23/24   ZS     SA    Prepare vote declaration                                            Solicitation          1.00
08/26/24   CJ     DS    Review voting declaration and exhibits in preparation for           Solicitation          1.10
                        participation in confirmation hearing
08/26/24   STK    DS    Respond to creditor inquiries related to solicitation               Call Center /         0.50
                                                                                            Creditor Inquiry
08/26/24   STK    DS    Prepare and compile solicitation notes for upcoming                 Solicitation          0.80
                        confirmation hearing
08/27/24   CJ     DS    Participate in confirmation hearing in connection with Kroll        Solicitation          1.60
                        voting declaration
08/27/24   CJ     DS    Review valid ballots, invalid ballots, tabulation rules and         Solicitation          1.70
                        voting results in preparation for participation in confirmation
                        hearing
08/27/24   CJ     DS    Travel time to and from Wilmington for confirmation hearing         Solicitation          2.30
                        (billed 1/2 of total time of 4.6 hours)
08/27/24   STK    DS    Prepare and compile solicitation notes for upcoming                 Solicitation          0.80
                        confirmation hearing
08/27/24   ZS     SA    Confer with C. Johnson (Kroll) re solicitation details for          Solicitation          0.70
                        confirmation
08/27/24   ZS     SA    Confer with S. Kesler (Kroll) re case deliverables                  Solicitation          0.70
08/28/24   OB     DI    Prepare for and participate in telephone conference with J.         Disbursements         0.40
                        Grall (Novo) and S. Kesler (Kroll) re distributions
                                                                                       Total Hours             108.50
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                   Hourly Fees by Employee through September 2024


Initial Employee Name                Title                          Hours        Rate      Total

OB     Bitman, Oleg                 DI - Director                    0.40   $259.50     $103.80
GB     Brunswick, Gabriel           MD - Managing Director           0.70   $269.50     $188.65

                                                      TOTAL:        1.10                $292.45

                  Hourly Fees by Task Code through September 2024

Task Code Task Code Description                                    Hours                  Total
DISB       Disbursements                                             0.40               $103.80

RETN       Retention / Fee Application                               0.70               $188.65

                                                      TOTAL:        1.10                $292.45
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                                               Time Detail

Date       Emp    Title   Description                                                     Task                Hours

09/12/24   GB     MD      Draft monthly fee application                                   Retention / Fee      0.70
                                                                                          Application
09/16/24   OB     DI      Review emails and documents related to distributions            Disbursements        0.40
                                                                                   Total Hours                 1.10




                                             Expense Detail

Description                                                                       Units          Rate       Amount

Travel                                                                                                      $274.00

                                                                                 Total Expenses             $274.00
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                                       Exhibit B
    Detail of Expenses Incurred by Kroll Employees During the Final Fee Period
     Employee Name           Date                  Expense Type                Amount
Johnson, Craig             8/27/2024               Travel (Lunch)                 $30.00
Johnson, Craig             8/27/2024               Travel (Amtrak)               $244.00
                                                        Total                    $274.00
